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                                                                                   U.S. DISTRICT COURT E.D.N.Y.


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MICHELE TIZZANO                                                                     U'NG ISLAND OFFICE
44 SINTSINK DR. EAST APT E                     U.S.'
PORT WASHINGTON, NY 11050
                                                                          New York 09/29/20


UNITED STATES DISTRICT COURT
for the
EASTERN DISTRICT OF NEW YORK


                                                                 CIVIL ACTION NO. 2:20-cv-04026-JMA-SlL


SANTOS HERNANDEZ, EMANUEL DE JESUS LIEVANO and
MIGUEL ANTONIO VASQUES vs ROSSO UPTOWN LTD,
MICHAEL TIZZANO, MASSIMO GAMMELLA.
                                                                                       RECEIVED
                                                                                       SEP 3 0 2020

                                                                                 SONY PROSE OFFICE
JUDGE JOAN M. AZRACK, STEVEN I. LOCKE,


With the premise that I was never properly served by the plaintiffs' attorney, I deny all the allegations
reported in the summon.


I want to address specifically;


Paragraph 13(INDIVIDUAL DEFENDANTS)Yes I am a natural person residing in Nassau County, New
York.


Paragraph 14(INDIVIDUAL DEFENDANTS) I DENY the allegation, I was never a shareholder of "Rosso
Uptown Ltd", public records show that "Rosso Uptown Ltd" is a Corporation formed by a sole proprietor,
EXHIBT "A"


Paragraph 15(INDIVIDUAL DEFENDANTS) I DENY the allegation, I never had interactions with the
plaintiffs, so I could not hire them,supervised them,control their work etc.

Paragraph 16(INDIVIDUAL DEFENDANTS) I DENY the allegation, 1 was never an employee of"Rosso
Uptown Ltd".

WHEREFORE, I respectfully request that this Court will dismiss my case as I am a "NOT RESPONSIBLE
PERSON"


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